           Case 1:15-cv-11803-IT Document 281 Filed 03/20/17 Page 1 of 3



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


    CARDIONET, LLC,

                                                       Civil Action No. 1:15-cv-11803-IT
         and
                                                       Hon. Indira Talwani
    BRAEMAR MANUFACTURING, LLC,

         Plaintiffs,

                 v.

    INFOBIONIC, INC.,

          Defendant.


      DEFENDANT INFOBIONIC’S RENEWED MOTION FOR JUDGMENT ON THE
      PLEADINGS THAT ALL ASSERTED CLAIMS OF U.S. PATENT NOS. RE43,767,
         7,212,850, 7,907,996 AND 7,099,715 ARE INVALID UNDER 35 U.S.C. § 101

         Per the Court’s order dated March 20, 2017 (#280), Defendant InfoBionic renews its

motion for judgment on the pleadings that all asserted claims of U.S. Patent Nos. RE43,767,

7,212,850, 7,907,996 and 7,099,715 are invalid under 35 U.S.C. § 101, and that Counts III, IV, V

and VI of CardioNet’s Third Amended Complaint (#279) should be dismissed with prejudice. 1

                             REQUEST FOR ORAL ARGUMENT

         Pursuant to Local Rule 7.1(d), InfoBionic respectfully requests that the Court hold oral

argument on this motion, as InfoBionic believes that oral argument will assist the Court.




1
 In support of this Renewed Motion, InfoBionic relies on the briefing, memoranda, and exhibits
previously filed in support of its Motion for Judgment on the Pleadings (##152, 154, 171, 187).
                                                1
         Case 1:15-cv-11803-IT Document 281 Filed 03/20/17 Page 2 of 3



Dated: March 20, 2017               Respectfully submitted,

                                    LATHAM & WATKINS LLP

                                    By: /s/ Charles H. Sanders
                                    Charles H. Sanders (BBO #646740)
                                    charles.sanders@lw.com
                                    John Hancock Tower, 27th Floor
                                    200 Clarendon Street
                                    Boston, MA 02116
                                    Tel: (617) 948-6022; Fax: (617) 948-6001

                                    Maximilian A. Grant (pro hac vice)
                                    max.grant@lw.com
                                    Gabriel K. Bell (pro hac vice)
                                    gabriel.bell@lw.com
                                    Abigail Amato Rives (pro hac vice)
                                    abby.rives@lw.com
                                    555 Eleventh Street, N.W., Ste. 1000
                                    Washington, DC 20004
                                    Tel: (202) 637-2200; Fax: (202) 637-2201

                                    Kristopher R. Davis (pro hac vice)
                                    kris.davis@lw.com
                                    330 North Wabash Avenue, Suite 2800
                                    Chicago, IL 60607
                                    Tel: (312) 876-7653; Fax: (312) 993-9767

                                    Brian W. Lewis (pro hac vice)
                                    brian.w.lewis@lw.com
                                    505 Montgomery St # 2000
                                    San Francisco, CA 94111
                                    Tel: (415) 646-7860; Fax: (415) 395-8095

                                    Counsel for Defendant InfoBionic, Inc.




                                       2
          Case 1:15-cv-11803-IT Document 281 Filed 03/20/17 Page 3 of 3



                            LOCAL RULE 7.1 CERTIFICATION

       I, Charles H. Sanders, counsel for Defendant InfoBionic, hereby certify that we have

conferred with counsel for CardioNet to resolve or narrow the issues presented in this motion

but, after good faith attempt, the parties reached no agreement.



Dated: March 20, 2017                                By: /s/ Charles H. Sanders
                                                     Charles H. Sanders (BBO #646740)


                                CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the above document was served upon the attorney of

record for each party via the Court’s CM/ECF filing system.


Dated: March 20, 2017

                                                     By: /s/ Charles H. Sanders
                                                     Charles H. Sanders (BBO #646740)
                                                     charles.sanders@lw.com
                                                     LATHAM & WATKINS LLP
                                                     John Hancock Tower, 27th Floor
                                                     200 Clarendon Street
                                                     Boston, MA 02116
                                                     Tel: (617) 948-6022; Fax: (617) 948-6001




                                                 3
